Case 4:21-cv-00318-DCN Document 2 Filed 08/05/21 Page 1 of 6

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

U.S. GOURTS

UNITED STATES DISTRICT COURT

 

 

for the AUG Uo 2021
District of c Ch; woo 20
KENYON
wo OF [DALE
Division IDAHO
Angela K. Cox |
) Case No. -W-C\-
) (to be filled in by the Clerk's Office)
Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint. 4.
Ifthe names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) L}yes [_]No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
-V- )
Allied Universal )
Defendant(s) )
(Write the full name of each defendant who is being sued. Ifthe )
names of all the defendants cannot fit in the space above, please )

write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

   

needed.
Name Angle
Street Address BOSNOt Ave
City and County Pocatello, Bannock County
State and Zip Code ‘Idaho, 83201
Telephone Number (239) 269-0669
E-mail Address Acox83204 @gmail.com

The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person’s job or title (if known). Attach additional pages if needed.

Page 1 of 6

 
Case 4:21-cv-00318-DCN Document 2 Filed 08/05/21 Page 2 of 6

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Defendant No. 1
Name Allied Universal

Job or Title Gf known)

Street Address 461 Washington Street Suite 600

City and County

State and Zip Code

Conshohocken, Montgomery county

   

PA 19428

Telephone Number

(706) 392-7817

E-mail Address (if known) Sarah.williams@aus.com

   

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (ifknown)

Page 2 of 6

 
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Case 4:21-cv-00318-DCN Document 2 Filed 08/05/21 Page 3 of 6

t for Employment Discrimination

Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

Name Alistate Call Center
Street Address 4200 Hawthorne Road
City and County Chubbuck, Bannock County
State and Zip Code Idaho, 83202
Telephone Number ((480) 416-8923
i. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

L

OO UU

Title VII of the Civil Rights Act of 1964, as codified, 42 US.C. §§ 20006¢ to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VI, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 USS.C. §§ 12112 to 121 17.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal law):

re

Relevant state law (specify, if known):

Relevant city or county law (specify, if known):

ee

Page 3 of ¢

 
Case 4:21-cv-00318-DCN Document 2 Filed 08/05/21 Page 4 of 6

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Ii.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph, Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify):

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

OlNOOOSU

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

a

Cc, I believe that defendant(s) (check one):
| is/are still committing these acts against me.
[| is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain):
race
color
gender/sex
religion

oe

national origin

oe
age (year of birth) (only when asserting a claim of age discrimination.)

SOOODOOU

disability or perceived disability (specify disability)

PTSD, induced Chronic Venous Insufficiency

E, The facts of my case are as follows. Attach additional pages if needed.

Page 4 of |

 
Case 4:21-cv-00318-DCN Document 2 Filed 08/05/21 Page 5 of 6

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

 

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

 

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

09/13/2020
B. The Equal Employment Opportunity Commission (check one}:
CJ has not issued a Notice of Right to Sue letter.
issued a Notice of Right to Sue letter, which I received on (date) 05/10/2021

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

[| 60 days or more have elapsed.
CJ less than 60 days have elapsed.

V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

Page 5 of 6

 
Case 4:21-cv-00318-DCN Document 2 Filed 08/05/21 Page 6 of 6

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Compensatory damages:

Medical expenses - $25,000

Loss of income due to wrongful termination- $62,000

Emotional harm (mental anguish, loss of enjoyment of life) - $500,000

Punitive damages: As appropriate

 

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 08/05/2021

Signature of Plaintiff
Printed Name of Plaintiff Angela Cox” —~

 

 

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code

 

 

 

 

 

Telephone Number
E-mail Address

 

 

Page 6 of 6

   

 
